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                                                                        Tuesday, 30 March, 2021 02:11:53 PM
                                                                               Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                     Urbana Division

                                        Case No. 20-2240

DEBORAH LAUFER, individually,

       Plaintiff,

v.

LAKEVIEW HOSPITALITY, LLC
d/b/a Decatur Conference Center & Hotel

      Defendant
____________________________________/

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(B), the parties hereby jointly stipulate to a dismissal of the above-

captioned action, including all claims therein, with prejudice, each party to bear her/its own costs

and attorney’s fees.

       Dated this 30th day of March, 2021.

____/s/ Kathy L. Houston_______________               __/s/ Jerrold H. Stocks_________________
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